  Case 20-12881-amc            Doc 54     Filed 04/13/22 Entered 04/13/22 15:42:47                  Desc Main
                                          Document     Page 1 of 2
WWR# 040933118

                              UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                     CASE NO. 20-12881-amc
HEATHER MOORE
GREGORY A. MOORE II                                        CHAPTER 13
                                Debtors
                                                           Hearing Date: 5/4/2022
CITADEL FEDERAL CREDIT UNION                               Hearing Time: 11:00 A.M.
                      Movant

  MOTION BY CITADEL FEDERAL CREDIT UNION FOR RELIEF FROM AUTOMATIC STAY
PURSUANT TO 11 U.S.C. SECTION 362(d) AND WAIVER OF 14-DAY STAY UNDER FED. BANKR.
                                   RULE 4001(a)(3)

        The Motion of Movant, by its attorney, James Valecko, Esquire, respectfully represents:

        1.      On 7/2/2020, the Debtors filed a voluntary petition commencing a case under Chapter 13, Title

11, United States Code, and for the entry of an Order for Relief.

        2.      Movant holds a valid security interest in one 2014 Nissan Pathfinder, VIN #

5N1AR2MM3EC699533, evidenced by a Certificate of Title (“Title”). A copy of a Retail Installment Contract

executed by Debtors, and the Title are attached hereto as Exhibit “A”.

        3.      This is an action under 11 U.S.C. Section 362(d) to vacate or modify a stay granted under 11

U.S.C. Section 362(a) to permit repossession and sale of the subject vehicle.

        4.      At the time of the filing of this Motion, the Debtors have defaulted on the payments due under

the Retail Installment Contract for 1/1/2022-4/1/2022 and together with attorney’s fees and court costs, the

Debtors owe Movant $2,744.00 on account of such defaulted payments.

        5.      The Debtors’ Payoff balance as of 4/6/2022 is $16,209.13.

        6.      Pursuant to Schedule B of Debtors’ petition, the vehicle has a current value of $8,532.00.

        7.      The Debtors surrendered the subject collateral to a dealership on or about 4/7/2022.

        8.      Movant is entitled to relief pursuant to 11 U.S.C. 362 (d)(1) because there is little or no equity

in the collateral for the benefit of the bankruptcy estate. Movant is not adequately protected.

        9.      Debtors have elected to surrender the subject collateral. Therefore, Movant further requests the

right to file an amended proof of claim for any unsecured deficiency balance remaining after the sale of the

collateral. Any surrender should only be for the value of the collateral.
  Case 20-12881-amc             Doc 54     Filed 04/13/22 Entered 04/13/22 15:42:47                Desc Main
                                           Document     Page 2 of 2




        WHEREFORE, Movant prays that the stay pursuant to Section 362(a) of Title 11 United States Code be

modified to allow Movant to exercise any and all of its remedies under its loan documentation and under state

law to proceed with repossession and sale of the subject vehicle, the 14-day stay provided by Fed. Bankr. Rule

4001(a)(3) is waived, and that it have such other relief as is just.

                                                            /s/James Valecko
                                                            James Valecko, PA Bar No. 79596
                                                            Weltman, Weinberg & Reis Co., L.P.A.
                                                            Attorney for Movant
                                                            436 Seventh Avenue, Suite 2500
                                                            Pittsburgh, PA 15219
                                                            412-434-7958
                                                            jimvalecko@weltman.com
